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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

UNITED STATES OF AMERICA,      )
         Respondent/Plaintiff, )
vs.                            )                       No. 3:97-CR-0055-K (02)
                               )                       No. 3:05-CV-2531-K
RODNEY TRAYLOR, ID # 29594-077,)                              ECF
        Movant/Defendant.      )

        ORDER ACCEPTING FINDINGS AND RECOMMENDATION
            OF THE UNITED STATES MAGISTRATE JUDGE

      After reviewing all relevant matters of record in this case, including the Findings,

Conclusions, and Recommendation of the United States Magistrate Judge and any

objections thereto, in accordance with 28 U.S.C. § 636(b)(1), the undersigned District

Judge is of the opinion that the Findings and Conclusions of the Magistrate Judge are

correct and they are accepted as the Findings and Conclusions of the Court.

      SO ORDERED.

      SIGNED this 7th day of December, 2006.




                                         ED KINKEADE
                                         UNITED STATES DISTRICT JUDGE
